AO 245B (Rev. 09/19)               Judgment in a Crim inal Case
                                   Sheet I



                                                         UNITED STATES DISTRICT COURT
                                                                          Eastern District of North Carolina
                                                                                                 )
                      UNITED STATES OF AMERICA                                                   )       JUDGMENT IN A CRIMINAL CASE
                                                 V.                                              )
                        QUAVION MAURICE PICKETT
                                                                                                 )
                                                                                                 )       Case Number: 5:22-CR-259-1 M
                                                                                                 )       USM Number: 33419-510
                                                                                                 )
                                                                                                 )         John H. Bennett
                                                                                                 )       Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)                          1,2,3 of Indictment
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                  Nature of Offense                                                                      Offense Ended     Count
21 u.s.c. § M1 ca>c1>. 21 u.s.c. § M 1CbH1>CA>   Possession With Intent to Distribute 400 Grams or More of Fentanyl                     5/26/2022             1
21 u.s.c. § B56(a)(1), 21 u.s.c. § 856(b)        Use and Maintain a Place for the Purpose of Manufacturing and Distributing Fentanyl    5/26/2022             2



       The defendant is sentenced as provided in pages 2 through                                _ _9___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)
                        - - - - - - - - - - - - - Dis                                   Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                                       8/22/2024



                                                                                                Signature of Judge




                                                                                                         Richard E. Myers II, Chief United States District Judge
                                                                                               Name and Title of Judge




                                                                                                Date




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AO 245B (Rev. 09/19)                   Judgment in a Criminal Case
                                       Sheet IA
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DEFENDANT: QUAVION MAURICE PICKETT
CASE NUMBER: 5:22-CR-259-1M

                                                             ADDITIONAL COUNTS OF CONVICTION

Title & Section                                       Nature of Offense                                                    Offense Ended
18 u.s.c. § 92, c,, 18 u.s.c. § 92• c,x1xAx1i, • ••   Possession of a Firearm in Furtherance of a Drug Trafficking Crime    5/26/2022

18 U. S.C. § 924(c)(1)(D)(ii)




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AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                   Judgment -   Page   - ~3 -   of   9
 DEFENDANT: QUAVION MAURICE PICKETT
 CASE NUMBER: 5:22-CR-259-1M

                                                         IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 324 months (264 months on Count 1, 240 months on Count 2; to run concurrently - 60 months on Count 3; to run consecutive
 to all other counts)



      ~ The court makes the following recommendations to the Bureau of Prisons:
           The court recommends: Most intensive substance abuse treatment, Vocational training/educational
           opportunities, Mental health assessment and treatment, Physical health evaluation and treatment,
           Placement at FCI Bennettsville- facility closest to family.

      liZ1 The defendant is remanded to the custody of the United States Marshal.

      0 The defendant shall surrender to the United States Marshal for this district:
          D at                                              D p.m.
                    - - - - - - - - - D a.m.                             on

          D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows :




          Defendant delivered on                                                        to

at _ _ _ _ _ _ _ _ __ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNlTED STATES MARSHAL


                                                                        By
                                                                                             DEPUTY UN ITED STATES MARSHAL




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AO 2458 (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                       Judgment-Page ____i___ of        9
DEFENDANT: QUAVION MAURICE PICKETT
CASE NUMBER: 5:22-CR-259-1 M
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 5 years (5 years on counts 1 and 3 and 3 years on Count 2; to run concurrently)




                                                    MANDATORY CONDITIONS
1.   You must not commit another federal , state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
4.    D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.    ~ You must cooperate in the collection ofDNA as directed by the probation officer. (check if applicable)
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender regi stration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    D You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




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AO 245B (Rev. 09/1 9)   Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                               Judgment- Page   ___5__ of _ _ _9___
DEFENDANT: QUAVION MAURICE PICKETT
CASE NUMBER: 5:22-CR-259-1 M

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. lfyou know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment contai ning these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
                                                                                                                ------------




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AO 245B (R~v. 09/19)   Judgment in a Criminal Case
                       Sheet 3D - Supervised Release
                                                                                            Judgment-Page   _ 6_   of      9
DEFENDANT: QUAVION MAURICE PICKETT
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                                         SPECIAL CONDITIONS OF SUPERVISION

 The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
 addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
 and may require residence or participation in a residential treatment facility .

 The defendant shall participate in a vocational training program as may be directed by the probation office.

 The defendant shall submit to a search , at any time, with or without a warrant, and by any law enforcement or probation
 officer, of the defendant's person and any property, house, residence , vehicle, papers, computer, other electronic
 communication or data storage devices or media, and effects upon reasonable suspicion concerning a violation of a
 condition of supervised release or unlawful conduct by the defendant, or by any probation officer in the lawful discharge of
 the officer's supervision functions . The court notes that Fourth Circuit precedent may require that a probation officer have
 some particularized suspicion to render certain searches lawful, and the court imposes lawful searches.

 The defendant shall support his dependents.




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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment -    Page _ _   7'--- of     9
 DEFENDANT: QUAVION MAURICE PICKETT
 CASE NUMBER: 5:22-CR-259-1 M
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                  Restitution               Fine                   AVAA Assessment*             JVTA Assessment**
TOTALS            $ 300.00                  $                         $                      $                            $



 D    The determination ofrestitution is deferred until          . An Amended Judgment in a Criminal Case (AO 245C) will be
                                                        - - - --
      entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                   Total Loss***               Restitution Ordered          Priority or Percentage




 TOTALS                               $                           0.00           $                     0.00
                                                                                     ----------

 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D    the interest requirement is waived for the           D fine     D restitution.
       D    the interest requirement for the        D     fine     D restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015 , Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.



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AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments

                                                                                                          Judgment -   Page ______8___ of    9
 DEFENDANT: QUAVION MAURICE PICKETT
 CASE NUMBER: 5:22-CR-259-1M

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant' s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     D Lump sum payment of$                                  due immediately, balance due

               O    not later than                                , or
               O    in accordance with    D C,       O D,     O E,or        O F below; or
 B    e:'.l    Payment to begin immediately (may be combined with         DC,        0 D, or     0 F below); or
 C    O Payment in equal        _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
              _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ _ (e.g. , 30 or 60 days) after the date of this judgment; or

 D    O Payment in equal            _ _ _ _ _ (e.g., weekly, monthly, quarterly} installments of $ _ _ _ over a period of
              _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

 E    O Payment during the term of supervised release will commence within _ _ _ _ _ (e.g. , 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    liZl     Special instructions regarding the payment of criminal monetary penalties:
                The special assessment in the amount of $300.00 shall be due in full immediately.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 0    Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                Joint and Several                 Corresponding Payee,
      (including defendant number)                         Total Amount                    Amount                           if appropriate




 0    The defendant shall pay the cost of prosecution.

 0    The defendant shall pay the following court cost(s):

 0    The defendant shall forfeit the defendant's interest in the following property to the United States:
      The defendant shall forfeit to the United States the defendant's interest in the property specified in
      the Preliminary Order of Forfeiture entered on August 6, 2024.
Payments shall be a_pplied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
(5) fine principal, (o) fine interest, (7) community restitution, (8) NT A assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.



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AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 7 - Denial of Federal Benefits

                                                                                                    Judgment -   Page   9    of       9
 DEFENDANT: QUAVION MAURICE PICKETT
 CASE NUMBER: 5:22-CR-259-1 M
                                                    DENIAL OF FEDERAL BENEFITS
                                               (For Offenses Committed On or After November 18, 1988)

 FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862(a)

      IT IS ORDERED that the defendant shall be:

D ineligible for all federal benefits for a period of

 D ineligible for the following federal benefits for a period of
     (sp ecify benefit(s))




                                                                       OR
 D Having determined that this is the defendant's third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be permanently ineligible for all federal benefits.

 FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862{b)

     IT IS ORDERED that the defendant shall :

 ~   be ineligible for all federal benefits for a period of       5 years

 D be ineligible for the following federal benefits for a period of

     (specify benejit(s))




      D     successfully complete a drug testing and treatment program.

      D     perform community service, as specified in the probation and supervised release portion of this judgment.

      D    Having determined that this is the defendant' s second or subsequent conviction for possession of a controlled substance, IT
           IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
           judgment as a requirement for the reinstatement of eligibility for federal benefits.



           Pursuant to 21 U.S.C. § 862(d), this denial offederal benefits does not include any retirement, welfare, Social Security, health,
 disability, Veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
 for eligibility. The clerk of court is responsible for sending a copy of this page and the first page of this judgment to:


                                 U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531




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